                Case 3:09-cr-04389-MMA                         Document 276                  Filed 01/19/12            PageID.590               Page 1 of 4
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           'A0245B       (Rev. 9/00) Judgment in a Criminal Case
                                                                                                                                               FILED
                         Sheet 1
                                                                                                                                                "..      .L" t..u It..
                                                     UNITED STATES DISTRICT COURT                                                     CLERK US DISiRf:1 r:OURT
                                                                                                                                   SOUTHERN DJtiiTRtCT Of. CALIFORNIA
                                                         SOUTHERN DISTRICT OF CALIFORNIA                                           BY       I/.               DEPUTY

                           UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CAfE v I
                                               v.                                           (For Offenses Committed On or After November 1, 1987)

                          JOSEPH ANTHONY PONDER (09),                                       Case Number: 09CR4389-MMA
                                                                                            Jeremy D. Warren
                                                                                            Defendant's Attorney
           REGISTRATION NO. 17379298

           D
           THE DEFENDANT:
           18I pleaded guilty to count(s) ONE OF THE INDICTMENT
           D was found guilty on count(s}i_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 after a plea ofnot gUilty.
                 Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                        Count
           Title & Section                          Nature of Offense                                                                                 Number(s)
  18 USC 1594(c)                             Conspiracy to Violate Sex Trafficking of Children and by Force, Fraud, or                                1
                                             Coercion




               The defendant is sentenced as provided in pages 2 through                4           of this judgment. The sentence is imposed pursuant
        to the Sentencing Reform Act of 1984.
        D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        18I Count(s) 3, of the Indictment                                                    is   D arel8l dismissed on the motion of the United States.
        Igj Assessment: $100.00


        Igj Fine waived                                    D Forfeiture pursuant to order filed ---------­ , included herein.
              IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
        or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution. the
        defendant shall notify the court and United States attorney of any material change in




                                                                                                                          o
                                                                                     UNITED STATES DISTRICT ruDGE

                                                                                                                                                       09CR4389-MMA
    Case 3:09-cr-04389-MMA                          Document 276         Filed 01/19/12       PageID.591            Page 2 of 4

AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                             Judgment - Page    2     of       4
DEFENDANT: JOSEPH ANTHONY PONDER (09),
CASE NUMBER: 09CR4389-MMA
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          SEVENTY-EIGHT (78) MONTHS




   o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    ~ The court makes the following recommendations to the Bureau of Prisons:
          COURT RECOMMENDS PLACEMENT IN THE SOUTHERN DISTRICT OF CALIFORNIA. THE COURT ALSO
          RECOMMENDS THE 500 HOUR DRUG TREATMENT PROGRAM (ROAP).



    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.    Op.m.       on _ _ _ _ _ _ _ _ _ _ ___

                as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 _____________________________________________________
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

          Defendant delivered on        _____________________________ to


 at ____________________ , with a certified copy of this judgment.



                                                                                           UNITED STATES MARSHAL


                                                                     By ________~~~~==~~~~~----------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                    09CR4389-MMA
         Case 3:09-cr-04389-MMA                        Document 276           Filed 01/19/12            PageID.592            Page 3 of 4


AO 245D      (Rev. 3110) Judgment in a Criminal Case for Revocations
             Sheet 3 - Supervised Rel~e
                                                                                                          Judgment-Page   ~           of _ _4:.-_ _
DEFENDANT: JOSEPH ANTHONY PONDER (09),                                                            a
CASE NUMBER: 09CR4389-MMA
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
SEVEN (07) YEARS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offinses committed on or after September] 3, ]994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shaH not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)

o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shaH refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confrrm the
         defendant's compliance with such notification requirement.
                                                                                                                                09CR4389-MMA
   Case 3:09-cr-04389-MMA                           Document 276     Filed 01/19/12           PageID.593         Page 4 of 4

AO 245B   (Rev. 9/00) Judgment in a Criminal Case
          Sheet 4 - Special Conditions
                                                                                               Judgment-Page         of    4
DEFENDANT:              JOSEPH ANTHONY PONDER
CASE NUMBER: 09CR4389-MMA (09)                                                                          •
                                      SPECIAL CONDITIONS OF SUPERVISION
I. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as
directed by the probation officer. Allow for reciprocal release of infonnation between the probation officer and the treatment
provider. May be required to contribute to the costs of services rendered in an amount to be detennined by the probation officer,
based on ability to pay.

2. Participate in a program ofmental health treatment as directed by the probation officer. take all medications as prescribed by a
psychiatrist/physician, and not discontinue any medication without pennission. The court authorizes the release ofthe presentence
report and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for
reciprocal release of infonnation between the probation officer and the treatment provider. May be required to contribute to the
costs of services rendered in an amount to be detennined by the probation officer, based on ability to pay.

3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

4. Resolve all outstanding warrants within 60 days of release.

5. Submit your person, property, house. residence, vehicle, papers, computer, electronic communications or data storage devices or
media, and effects to search at any time, with or without a warrant, by any law enforcement or probation officer with reasonable
suspicion concerning a violation of a condition ofprobation/supervised release or unlawful conduct, and otherwise in the lawful
discharge of the officer's duties. 18 U.S.C. §§ 3563(b)(23); 3583(d)(3).

6. Consent to third party disclosure to any employer, potential employer, concerning any restrictions that are imposed by the court.

7. Not use or possess devices which can communicate data via modem or dedicated connection and may not have access to the
Internet without prior approval from the court or the probation officer without monitoring software. The offender shall consent to
the installation ofsystems that will enable the probation officer to monitor computer use on any computer owned or controlled by
the offender. The offender shall pay for the cost of installation of the computer software.

8. Not associate with, or have any contact with any sex offenders unless in an approved treatment and/or counseling setting.

9. Not have any contact with CR and her family, direct or indirect, either telephonically, visually, verbally or through written
material, or through any third-party communication, with the victims or victims' family. without approval of the probation officer.

10. Not accept or commence employment without prior approval of the probation officer, and employment should be subject to
continuous review and assessment by the probation officer.

11. Reside in a residence approved in advance by the probation officer, and any changes in residence shall be pre-approved by the
probation officer.

12. Complete a sex offender evaluation, which may include periodic psychological, physiological testing, and completion of the
ABEL assessment, at the direction of the court or probation officer; and that the offender participate and successfully complete an
approved state-certified sex offender treatment program, including compliance with all lifestyle restrictions and treatment
requirements of the program. The offender will allow reciprocal release of information between the probation officer and the
treatment provider. The offender may also be required to contribute to the costs of services rendered in an amount to be detennined
by the probation officer, based on ability to pay.

l3. Probation has discretion to monitor employment related to internet communication.




                                                                                              09CR4389-MMA (09)
